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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
V.                                                §           CASE NO.2:11-CR-2(2)-TJW-CE
                                                  §
ERICA NICOLE COOK                                 §

              ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                        FINDING DEFENDANT GUILTY

       On this day, the Court considered the Findings of Fact and Recommendation of United States

Magistrate Judge Charles Everingham IV regarding defendant’s plea of guilty and allocution to

Count 1 of an indictment with a violation of 18 U.S.C. § 922(G)(1), felon in possession of a firearm.

Having conducted a proceeding in the form and manner prescribed by FED . R. CRIM . P. 11, the

Magistrate Judge recommends that the Court accept the defendant’s guilty plea. The parties waived

their right to file objections to the Findings of Fact and Recommendation. The Court is of the

opinion that the Findings of Fact and Recommendation should be accepted.

       It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

States Magistrate Judge, filed May 9, 2011, are hereby ADOPTED.

       It is further ORDERED that, pursuant to defendant’s plea agreement, the Court finds

defendant GUILTY of Count 1 of the indictment in the above-numbered cause.
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        SIGNED this 13th day of June, 2011.



                                              __________________________________________
                                              T. JOHN WARD
                                              UNITED STATES DISTRICT JUDGE




                                              2
